                 Case 2:12-cv-02075-JAD-GWF Document 58 Filed 03/17/16 Page 1 of 1
2AO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                                                                                                    Nevada
                                                               DISTRICT OF

        Greg Jacobi ,
                                                                                JUDGMENT IN A CIVIL CASE
                                                  Plaintiff,
                             V.
        Charles W. Ergen, et al.,                                               Case Number: 2:12-cv-02075-JAD-GWF

                                               Defendants.

  Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has d
d rendered its verdict.

  Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
d decision has been rendered.

  Notice of Acceptance with Offer of Judgment. A notice of acceptance with offer of judgment has been filed in this
d case.

   IT IS ORDERED AND ADJUDGED
that the complaint is DISMISSED under FRCP 23.1 for failure to file a pre-suit demand or sufficiently plead
demand futility. Judgment is entered in favor of the Defendants and against the Plaintiff.




                         March 17, 2016                                /s/ Lance S. Wilson

 Date                                                                   Clerk

                                                                       /s/ TR
                                                                        (By) Deputy Clerk
